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  Fill in this information to identify the case:

  Debtor name         CAH Acquisition Company 12, LLC

  U nited States Bankruptcy Court for the:           EASTERN DISTRICT OF NORTH CAROLINA

  Case number (if known) 19-01697
                                                                                                                                 ❑ Check if this is an
                                                                                                                                   amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
 Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
 which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
 or unexpired leases. Also list them on Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules,such as a fixed asset
  schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
  debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
  Part 1:     Cash and cash equivalents
 1 Does the debtor have any cash or cash equivalents?

      ❑ No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.    Armstrong Bank                                          Checking                                                                Unknown




            3.2.    US Bank                                                 Checking                         3952                                   $2,864.08




            3.3.    US Bank                                                 Checking                         4817                                   $5,236.57




 4.         Other cash equivalents (Identify all)


 5.         Total of Part 1.                                                                                                                    $8,100.65
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:         Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      ■ No. Go to Part 3.
      ❑ Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
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    Debtor         CAH Acquisition Company 12, LLC                                                  Case number (If known) 19-01697
                   Name

        ❑ No. Go to Part 4.
        ■ Yes Fill in the information below.

    1 1.      Accounts receivable
               1 1a. 90 days old or less:                       2,740,340.63   -                       1,277,617.09 =                        $1,462,723.54
                                                face amount                        doubtful or uncollectible accounts




   12.        Total of Part 3.                                                                                                           $1,462,723.54
              Current value on lines 11a + 11b = line 12. Copy the total to line 82.

   Part 4:     Investments
  1 3. Does the debtor own any investments?

      ■ No. Go to Part 5.
      ❑ Yes Fill in the information below.


   Part 5     Inventory, excluding agriculture assets
  18. Does the debtor own any inventory (excluding agriculture assets)?

      ❑ No. Go to Part 6.
      ■ Yes Fill in the information below.

              General description                      Date of the last         Net book value of         Valuation method used       Current value of
                                                       physical inventory       debtor's interest         for current value           debtor's interest
                                                                               (Where available)

  19.         Raw materials

  20.        Work in progress

  21.        Finished goods, including goods held for resale

  22.        Other inventory or supplies
             Supplies - Purchasing
             Department
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                               9/30/2017                        $30,645.16                                                Unknown


             Printer
             cartridges/supplies
             Purchasing Department
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                              9/30/2017                          $7,546.07                                               Unknown


             Nursing Supplies
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                              09/30/2017                        $6,470.75                                                Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
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                                                                             60
    Debtor         CAH Acquisition Company 12, LLC                                             Case number (If known) 19-01697
                   Name

              Supplies - Emergency
              Rm 221, 220, Trauma &
              201
              Fairfax Memorial
              Hospital
              40 Hospital Drive
              Fairfax, OK                               09/30/2017                      $11,954.76                                        Unknown


              Triage Room Supplies
              Fairfax Memorial
              Hospital
              40 Hospita Drive
              Fairfax, OK                               9/30/2017                        Unknown                                          Unknown


             Central Sterile Room
             Supplies
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                               9/30/2017                         $6,807.25                                       Unknown


             OR, Recovery and
             Anesthesia Supplies
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                               9/30/2017                       $11,954.76                                        Unknown


             Lab supplies                              9/30/2017                       $21,118.30                                        Unknown


             X-ray supplies                            9/30/2017                        $1,734.11                                        Unknown


             Housekeeping Supplies                     9/30/2017                        $1,629.47                                        Unknown


            Sleep lab                                  09/30/2017                       Unknown                                          Unknown


            Physical Therapy
            Supplies                                   09/30/2017                       $1,078.37                                        Unknown


            Dietary Supplies                          09/30/2017                        $5,978.39                                       Unknown


            Clinic Supplies - Fairfax
            Clinic
            Fairfax Memorial
            Hospital
            40 Hospital Drive
            Fairfax, OK                               09/30/2017                        $1,532.74                                       Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
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   Debtor         CAH Acquisition Company 12, LLC                                                  Case number (If known) 19-01697
                  Name

             Clinic Supplies - Pawnee
             Clinic
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                               09/30/2017                        $4,939.08                                                Unknown


             Pharmacy Supplies
             Fairfax Memorial
             Hospital
             40 Hospital Drive
             Fairfax, OK                               09/30/2017                       $36,286.10                                                Unknown




  23.        Total of Part 5.                                                                                                                      $0.00
             Add lines 19 through 22. Copy the total to line 84.

  24.        Is any of the property listed in Part 5 perishable?
             ■ No
             ❑ Yes

  25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             ■ No
             ❑ Yes. Book value                            Valuation method                         Current Value

  26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
             ■ No
             ❑ Yes

 Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     ■ No. Go to Part 7.
     ❑ Yes Fill in the information below.


 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     ❑ No. Go to Part 8.
     ■ Yes Fill in the information below.

            General description                                                Net book value of         Valuation method used       Current value of
                                                                               debtor's interest         for current value           debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Cubicle Spaces
           Fairfax Memorial Hospital
           40 Hospital Drive
           Fairfax, OK                                                                  $4,112.68                                                Unknown



 40.        Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Network Server                                                               $2,815.76                                                Unknown
           Fairfax Memorial Hospital
           40 Hospital Drive
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 4
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   Debtor          CAH Acquisition Company 12, LLC                                              Case number (If known) 19-01697
                   Name

              Fairfax, OK


             Nextgen Software
             Fairfax Memorial Hospital
             40 Hospital Drive
             Fairfax, OK                                                                 $90,680.68                                            Unknown


             Trucode Medical Recording Software
             Fairfax Memorial Hospital
             40 Hospital Drive
             Fairfax, OK                                                                $12,487.59                                             Unknown


             Athena Hardware Equipment                                                    $5,923.75                                            Unknown



  42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
             books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
             collections; other collections, memorabilia, or collectibles

  43.        Total of Part 7.                                                                                                                       $0.00
             Add lines 39 through 42. Copy the total to line 86.

  44.        Is a depreciation schedule available for any of the property listed in Part 7?
             ❑ No
             ■ Yes

 45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
             ■ No
             ❑ Yes

 Part 8:     Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ❑ No. Go to Part 9.
     ■ Yes Fill in the information below.

            General description                                                 Net book value of      Valuation method used      Current value of
            Include year, make, model, and identification numbers              debtor's interest       for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                       (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment(excluding farm
            machinery and equipment)
            I-Stat Wireless Analzyer for Lab
            Fairfax Memorial Hospital
            40 Hospital Road
            Fairfax, OK                                                                  $2,661.43                                            Unknown




Official Form 206A/B                                           Schedule A/B Assets - Real and Personal Property                                    page 5
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   Debtor          CAH Acquisition Company 12, LLC                                                  Case number (If known) 19-01697
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              Baxter Healthcare - IV Pumps
              Fairfax Memorial Hospital
              40 Hospital Drive
              Fairfax, OK                                                                $20,390.56                                             Unknown


              HERC - Mindray M7                                                           $7,731.19                                             Unknown


             Vonco Medical - Biodex Unweighing System
             Fairfax Memorial Hospital
             40 Hospital Drive
             Fairfax, OK                                                                  $9,774.97                                             Unknown


             Parking Lot Front and SE Lots
             40 Hospital Drive
             Fairfax, OK                                                                  $4,001.06                                             Unknown


             Pediatric Crib
             Fairfax Memorial Hospital
             40 Hospital Drive
             Fairfax, OK                                                                      $7.92                                             Unknown



  51.        Total of Part 8.                                                                                                                    $0.00
             Add lines 47 through 50. Copy the total to line 87.

  52.        Is a depreciation schedule available for any of the property listed in Part 8?
             ❑ No
             ■ Yes

 53.         Has any of the property listed in Part 8 been appraised by a professional within the last year?
             ■ No
             ❑ Yes

 Part 9      Real property
54. Does the debtor own or lease any real property?

     ❑ No. Go to Part 10.
     ■ Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                     Nature and          Net book value of         Valuation method used   Current value of
            property                                        extent of           debtor's interest         for current value       debtor's interest
            Include street address or other                 debtor's interest   (Where available)
            description such as Assessor                    in property
            Parcel Number(APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Asphalt Parking Lot
                     Fairfax Memorial
                     Hospital
                     40 Hospital Drive
                     Fairfax, OK                                                           $581.67                                             Unknown




Official Form 206A/B                                           Schedule NB Assets - Real and Personal Property                                        page 6
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   Debtor         CAH Acquisition Company 12, LLC                                              Case number (If known) 19-01697
                  Name


  56.        Total of Part 9.                                                                                                               $0.00
             Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
             Copy the total to line 88.

  57.        Is a depreciation schedule available for any of the property listed in Part 9?
             ■ No
             ❑ Yes

  58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             ■ No
             ❑ Yes

  Part 10:   Intangibles and intellectual property
 59. Does the debtor have any interests in intangibles or intellectual property?

     ■ No. Go to Part 11.
     ❑ Yes Fill in the information below.


  Part 11:       All other assets
 70. Does the debtor own any other assets that have not yet been reported on this form?
     Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ■ No. Go to Part 12.
     ❑ Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
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   Debtor          CAH Acquisition Company 12, LLC                                              Case number Of known) 19-01697
                   Name


   Part 12:        Summary

  In Part 12 copy all of the totals from the earlier parts of the form
        Type of property                                                             Current value of             Current value of real
                                                                                     personal property            property

   80. Cash, cash equivalents, and financial assets.
       Copy line 5, Part 1                                                                      $8,100.65

  81. Deposits and prepayments. Copy line 9, Part 2.                                                 $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                            $1,462,723.54

  83. Investments. Copy line 17, Part 4.                                                             $0.00

  84. Inventory. Copy line 23, Part 5.                                                               $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                      $0.00

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                                          $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                      $0.00

  88. Real property. Copy line 56, Part 9                                                                                                   $0.00

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                  $0.00

  90. All other assets. Copy line 78, Part 11.                                                       $0.00

  91. Total. Add lines 80 through 90 for each column                                     $1,470,824.19       + 91b.                       $0.00


  92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                         $1,470,824.19




Official Form 206A/B                                           Schedule A/B Assets - Real and Personal Property                                        page 8
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                                                                                                                                                                   5/14/19 12 6PM
                                                                                  60
        Fill in this information to identify the case:

        Debtor name           CAH Acquisition Company 12, LLC

        U nited States Bankruptcy Court for the:             EASTERN DISTRICT OF NORTH CAROLINA

        Case number (if known)              19-01697
                                                                                                                                               ❑ Check if this is an
                                                                                                                                                 amended filing


      Official Form 206D
      Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
      Be as complete and accurate as possible.
      1. Do any creditors have claims secured by debtor's property?
              ❑ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

              ■ Yes. Fill in all of the information below.

       Part             List Creditors Who Have Secured Claims
                                                                                                                          Column A                   Column B
       2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
       claim, list the creditor separately for each claim.                                                                Amount of claim            Value of collateral
                                                                                                                                                     that supports this
                                                                                                                          Do not deduct the value    claim
                                                                                                                          of collateral.
       2.1
               Paul Nusbaum and Steve
               White                                          Describe debtor's property that is subject to a lien             $3,774,471.52                      $0.00
               Creditors Name                                Note secured by collateral pledged in Credit
               do John Paul Cournoyer                        Agreement dated April 12, 2010.
               1414 Raleigh Road, Suite
               435
               Chapel Hill, NC 27517
               Creditor's mailing address                    Describe the lien
                                                             Non-Purchase Money Security
                                                             Is the creditor an insider or related party?
                                                            •No
               Creditor's email address, if known            ❑ Yes
                                                             Is anyone else liable on this claim?
               Date debt was incurred                       •No
                                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
               Last 4 digits of account number

               Do multiple creditors have an                 As of the petition filing date, the claim is:
               interest in the same property?                Check all that apply
               111 No                                        ❑ Contingent
               ❑ Yes. Specify each creditor,                 ❑ Unliquidated
               including this creditor and its relative      ❑ Disputed
               priority.




                                                                                                                                $3,774,471.5
             Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.
                                                                                                                                           2

•List Others to Be Notified for a Debt Already Listed in Part 1
      List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
      assignees of claims listed above, and attorneys for secured creditors.

      If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
              Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                                    you enter the related creditor?   account number for
                                                                                                                                                      this entity




     Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 1
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                                                                                                                                                                5/14/19 12:16PM
                                                                           60
   Fill in this information to identify the case:

   Debtor name         CAH Acquisition Company 12, LLC

   United States Bankruptcy Court for the:            EASTERN DISTRICT OF NORTH CAROLINA

  Case number (if known)           19-01697
                                                                                                                                           ❑ Check if this is an
                                                                                                                                                 amended filing


 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
 Personal Property (Official Form 206A/B)and on Schedule G:Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

  Part 1:      List All Creditors with PRIORITY Unsecured Claims

        1. Do any creditors have priority unsecured claims?(See 11 U.S.C. § 507).

           ❑ No. Go to Part 2.

              Yes. Go to line 2.

        2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
           with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

  2.1       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                        U nknown         $0.00
            Alexander Genty                                          Check all that apply.
            19901 Coker Rd.                                          ❑ Contingent
            Tecumseh, OK 74873                                       ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      ▪ No
            unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     ❑ Yes


 2.2        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                        Unknown          $0.00
           Allicia Miller                                            Check all that apply.
           44750 S 346 Rd.                                           ❑ Contingent
           Pawnee, OK 74058                                          ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       El No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 34
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   Debtor       CAH Acquisition Company 12, LLC                                                                Case number (if known)   19-01697
                Name
   2.3       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
            Ashley Engle                                              Check all that apply.
            201 S 7th St.                                             ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes

  2.4       Priority creditors name and mailing address              As of the petition filing date, the claim is:                          Unknown      $0.00
            Brittnee Morris                                          Check all that apply.
            35636 EW 120                                              ❑ Contingent
            Seminole, OK 74868                                        ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      M No
            unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     ❑ Yes

  2.5       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Carla Bartlett                                           Check all that apply.
            390 N. 2nd St.                                           ❑ Contingent
            Ralston, OK 74650                                        ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     ❑ Yes

 2.6        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      Unknown
           Carley Mclnturf                                           Check all that apply.
           605 S 7th                                                 ❑ Contingent
           Fairfax, OK 74637                                         ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 34
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                                                                           60                                                                               5/14/19 12:16PM

   Debtor       CAH Acquisition Company 12, LLC                                                                Case number (ifknown)   19-01697
                Name

             Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
            Casey Steele                                              Check all that apply.
            350101 E 4550 Road                                        ❑ Contingent
            Pawnee, OK 74058                                          ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
             Last 4 digits of account number                         Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)    (4)
                                                                      ❑ Yes


  2.8       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
            Chrissie Collins                                         Check all that apply.
            50950 E 45-5 Rd.                                         ❑ Contingent
            Pawnee, OK 74058                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     ❑ Yes


  2.9       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
            Crystal Griffin                                          Check all that apply.
            219 S Pittsburg Ave.                                     ❑ Contingent
            Tulsa, OK 74112                                          ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C.§ 507(a)(1)
                                                                     ❑ Yes


 2.10       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
           Dana Bennett                                              Check all that apply.
           420 Mason St.                                             ❑ Contingent
           Fairfax, OK 74637                                         ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       II No
           unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     ❑ Yes




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                Name
  2.11      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown     $0.00
            David Spears                                              Check all that apply.
            3414 Meadow Ln.                                           ❑ Contingent
            Ponca City, OK 74604                                      ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.12      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
            Debbie Moore                                             Check all that apply.
            703 Holmes Ave.                                          ❑ Contingent
            Cushing, OK 74023                                        ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.13       Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown     $0.00
           Destanee Donaldson                                        Check all that apply.
           PO Box 36                                                 ❑ Contingent
           Fairfax, OK 74637                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.14      Priority creditors name and mailing address               As of the petition filing date, the claim is:                         Unknown     $0.00
           Donna Renfro                                              Check all that apply.
           72 Robertson Addition Rd.                                 ❑ Contingent
           Fairfax, OK 74637                                         ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




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                Name
  2.15       Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
             E Owens                                                  Check all that apply.
             12500 NE 36th St.                                        ❑ Contingent
             Choctaw, OK 73020                                        ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       Ill No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.16      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown      Unknown
            Edna Gibson                                              Check all that apply.
            416 N 6th St.                                             ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


  2.17      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
            Fred Morley                                              Check all that apply.
            208 Highland Rd.                                         ❑ Contingent
            Pauls Valley, OK 73075                                   ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.18       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
           Gabriel Graham                                            Check all that apply.
           624 S 7th.                                                ❑ Contingent
           Fairfax, OK 74637                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




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                Name
   2.19      Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
            Gene Evans                                                Check all that apply.
            44702 S 34700 Rd.                                         ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                      ❑ Yes


  2.20      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
            Hillery Lewis                                             Check all that apply.
            PO Box 496                                                ❑ Contingent
            Shidler, OK 74652                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


  2.21      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown     $0.00
            Internal Revenue Service                                 Check all that apply.
            PO Box 7346                                              ❑ Contingent
            Philadelphia, PA 19101                                   ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C.§ 507(a) a)
                                                                     ❑ Yes


 2.22      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
           Jaclyn Rollins                                            Check all that apply.
           251 W Elm St.                                             ❑ Contingent
           Fairfax, OK 74637                                         ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       U No
           unsecured claim: 11 U.S.C.§ 507(a)(4)
                                                                     ❑ Yes




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                Name

  2.23      Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
            James Drymon                                             Check all that apply.
            200 S 7th                                                 ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


  2.24      Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown     $0.00
            James Graham                                             Check all that apply.
            348586 E Parkside Ave.                                   ❑ Contingent
            Pawnee, OK 74058                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.25      Priority creditors name and mailing address               As of the petition filing date, the claim is:                        Unknown     $0.00
           Jamie Case                                                Check all that apply.
           14 Eagle Dr.                                              ❑ Contingent
           Kaw City, OK 74641                                        ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.26      Priority creditors name and mailing address               As of the petition filing date, the claim is:                        Unknown     $0.00
           Janice Lyons                                              Check all that apply.
           219 Donning Ave.                                          ❑ Contingent
           Mount Ayr, IA 50854                                       ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       III No
           unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     ❑ Yes




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  2.27    —1 Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown      $0.00
            Jeremy Wikel                                              Check all that apply.
            523 W 9th St.                                            0 Contingent
            Hominy, OK 74035                                         0 Unliquidated
                                                                     0 Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C.§ 507(a)(I)
                                                                     0 Yes


  2.28      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Jerrod Beltz                                             Check all that apply.
            401 S 5th                                                0 Contingent
            Fairfax, OK 74637                                        0 Unliquidated
                                                                     0 Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      1II No
            unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                     0Yes


  2.29      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Jill Mcconnell                                           Check all that apply.
            1233 S 1st St.                                           0 Contingent
            Blackwell, OK 74631                                      0 Unliquidated
                                                                     0 Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     0 Yes


 2.30       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            John Pangburn                                            Check all that apply.
            PO Box 2537                                              0 Contingent
            Ponca City, OK 74602                                     ❑ Unliquidated
                                                                     0 Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     0 Yes




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                Name
 [2.31       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
             Julia Smith                                              Check all that apply.
             217 N 2nd                                                ❑ Contingent
             Fairfax, OK 74637                                        ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
             Specify Code subsection of PRIORITY                          No
             unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


   2.32     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown      $0.00
            Karen Cook                                                Check all that apply.
            500 S Tallchielf Dr.                                      ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


  2.337 Priority creditor's name and mailing address                 As of the petition filing date, the claim is:                          Unknown     $0.00
            Katherine Haynes                                         Check all that apply.
            10322 Acme Rd                                            ❑ Contingent
            Shawnee, OK 74804                                        ❑   Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.34       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
           Kathy Brock                                               Check all that apply.
           46515 US Hwy 60                                           ❑ Contingent
           Burbank, OK 74633                                         ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a)(1)
                                                                     ❑ Yes




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                Name
  2.35       Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown      $0.00
            Keli Mashburn                                             Check all that apply.
            300 S 7th St.                                             ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)()
                                                                     ❑ Yes

  2.36      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Kenneth Shepard                                          Check all that apply.
            7355 E 111th Place S                                     ❑ Contingent
            Bixby, OK 74008                                          ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(LI)
                                                                     ❑ Yes

 2.37       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Kimberly Navrath                                         Check all that apply.
            350658 E. 1020 Rd                                        ❑ Contingent
            Prague, OK 74864                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a) a)
                                                                     ❑ Yes

 2.38       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
           Kimberly Noble                                            Check all that apply.
           3450 Brooklyn                                             ❑ Contingent
           Sedalia, MO 65301                                         ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a)(i)
                                                                     ❑ Yes




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                Name
  2.39       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                        Unknown      $0.00
            Kristin Brock                                             Check all that apply.
            2008 Joe St.                                              ❑ Contingent
            Ponca City, OK 74601                                      ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.40      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
            Kristy Terry                                             Check all that apply.
            172 South 1st St.                                         ❑ Contingent
            Ralston, OK 74650                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


  2.41      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
            Linda Thompson                                           Check all that apply.
            PO Box 276                                               ❑ Contingent
            Fairfax, OK 74637                                        ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


 2.42       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                        Unknown      $0.00
           Lindsay Barrett                                           Check all that apply.
           347751 E. 4900 Rd.                                        ❑ Contingent
           Pawnee, OK 74058                                          ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a)(z
                                              .1)
                                                                     ❑ Yes




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                Name
   2.43      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown      $0.00
             Malissa Mackenzie                                        Check all that apply.
             PO Box 59                                                ❑ Contingent
             Pawnee, OK 74058                                         ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.44       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
            Mary Jordan                                               Check all that apply.
            8078 Doga Creek Rd.                                       ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes

  2.45      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Mary McKenzie                                            Check all that apply.
            657 CR 5451                                              ❑ Contingent
            Hominy, OK 74035                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes

 2.46       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
           Matthew Haney                                             Check all that apply.
           11014 S Oak Ave.                                          ❑ Contingent
           Jenks, OK 74037                                           ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ▪ No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                                Case number (ifknown)   19-01697
                Name
  2.47       Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown     $0.00
            Michael Scalf                                             Check all that apply.
            7365 E 119 Place South                                    ❑ Contingent
            Bixby, OK 74008                                           ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.48      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown     $0.00
            Michael Turner                                           Check all that apply.
            16112 Wind Crest Way                                      ❑ Contingent
            Edmond, OK 73013                                          ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a) a)
                                                                     ❑ Yes


 2.49       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
            Miranda Graham                                           Check all that apply.
            624 S. 7th                                               ❑ Contingent
            Fairfax, OK 74637                                        ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a) a)
                                                                     ❑ Yes


 2.50       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
           Monica Hau                                                Check all that apply.
           737 Elm Street                                            ❑ Contingent
           Perry, OK 73077                                           ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       El No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                                Case number (itknown)   19-01697
                Name
  2.51       Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown        $0.00
             Monica Woods                                             Check all that apply
             250 Robertson                                            ❑ Contingent
             Fairfax, OK 74637                                        ❑ Unliquidated
                                                                      ❑ Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
             Last 4 digits of account number                         Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.52      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         $1,715.80     $1,715.80
            Oklahoma Employment Security                             Check all that apply.
            Comm                                                     ❑ Contingent
            PO Box 52925                                             ❑ Unliquidated
            Oklahoma City, OK 73152                                  ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number 7608                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                      II No
            unsecured claim: 11 U.S.C. § 507(a)(6)
                                                                     ❑ Yes


  2.53      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown       $0.00
            Oklahome Tax Commission                                  Check all that apply.
            PO Box 26920                                             ❑ Contingent
            Oklahoma City, OK 73126                                  ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a) g
                                                                     ❑ Yes


 2.54       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown       $0.00
           Paula Mcinturf                                            Check all that apply.
           606 Park Street                                           ❑ Contingent
           Pawnee, OK 74058                                          ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a) a)
                                                                     ❑ Yes




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  Debtor       CAH Acquisition Company 12, LLC                                                                Case number (ifknown)   19-01697
               Name
  2.55      Priority creditors name and mailing address              As of the petition filing date, the claim is:                        Unknown     $0.00
            Phyllis Pitcher                                          Check all that apply.
            19941 CR 5415                                            ❑ Contingent
            Fairfax, OK 74637                                        ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                    Current Payroll
            Last 4 digits of account number                         Is the claim subject to offset?
            Specify Code subsection of PRIORITY                     •No
            unsecured claim: 11 U.S.C.§ 507(a)0)
                                                                     ❑ Yes


  2.56     Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
           Rachele Quinones                                         Check all that apply.
           12900 Stonecrest Ln.                                     ❑ Contingent
           Oklahoma City, OK 73142                                  ❑ Unliquidated
                                                                    ❑ Disputed

           Date or dates debt was incurred                          Basis for the claim:
                                                                    Current Payroll
           Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                      IIII No
           unsecured claim: 11 U.S.C.§ 507(a)(I)
                                                                    ❑ Yes

 2.57      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
           Rebecca Sparks                                           Check all that apply.
           203 Main Box 50                                          ❑ Contingent
           Ralston, OK 74650                                        ❑ Unliquidated
                                                                    ❑ Disputed

           Date or dates debt was incurred                          Basis for the claim:
                                                                    Current Payroll
           Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a)(Li)
                                                                    ❑ Yes


 2.58      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown     $0.00
          Rhonda Jim                                                Check all that apply,
          612 Cleveland St.                                         ❑ Contingent
          Pawnee, OK 74058                                          ❑ Unliquidated
                                                                    ❑ Disputed

           Date or dates debt was incurred                          Basis for the claim:
                                                                    Current Payroll
           Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                      •No
           unsecured claim: 11 U.S.C.§ 507(a)(4)
                                                                    ❑ Yes




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                                                                            60
  Debtor        CAH Acquisition Company 12, LLC                                                                 Case number (ifknown)   19-01697
                Name
  2.59 J Priority creditors name and mailing address                  As of the petition filing date, the claim is:                         Unknown     $0.00
            Richard Steel                                             Check all that apply.
            24288 N 3990 Rd                                            ❑ Contingent
            Bartlesville, OK 74006                                     ❑ Unliquidated
                                                                       ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       II No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


  2.60      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown     $0.00
            Ryan Madison                                              Check all that apply.
            300 S. 7th St.                                            ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       •No
            unsecured claim: 11 U.S.C.§ 507(a)(i)
                                                                      ❑ Yes


 2.61       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown     $0.00
            Sean Satterfield                                          Check all that apply.
            1614 Dean Ave.                                            ❑ Contingent
            Ponca City, OK 74604                                      ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                            No
           unsecured claim: 11 U.S.C.§ 507(a)(4)
                                                                      ❑ Yes


 2.62      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     $0.00
           Sharon Thomason                                            Check all that apply.
           172 Robertson Addition Rd.                                 ❑ Contingent
           Fairfax, OK 74637                                          ❑ Unliquidated
                                                                      ❑ Disputed

           Date or dates debt was incurred                            Basis for the claim:
                                                                      Current Payroll
           Last 4 digits of account number                            Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        El No
           unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                      ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                                Case number (if known)   19-01697
                Name

   2.63      Priority creditors name and mailing address              As of the petition filing date, the claim is:                         Unknown      $0.00
            Shaun Willard                                             Check all that apply.
            PO Box 321                                                ❑ Contingent
            Pawnee, OK 74058                                          ❑ Unliquidated
                                                                      ❑   Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes

  2.64      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown      $0.00
            Shelley Hutchison                                        Check all that apply.
            PO Box 61                                                 ❑ Contingent
            Ralston, OK 74650-2000                                    ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a)0)
                                                                     ❑ Yes


  2.65      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown     $0.00
            Sherry Mcconnell                                         Check all that apply.
            356 N 1st                                                ❑ Contingent
            Ralston, OK 74650                                        ❑ Unliquidated
                                                                     ❑    Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes

 2.66       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown      $0.00
           Stacey Burtner                                            Check all that apply.
           1813 NE Woodland                                          ❑ Contingent
           Ponca City, OK 74604                                      ❑   Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       II No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                                 Case number (ifknown)   19-01697
                Name
  2.67       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        Unknown      $0.00
            Teddy Holt                                                 Check all that apply.
            323 N Regan                                                ❑ Contingent
            Hominy, OK 74035                                           ❑ Unliquidated
                                                                       ❑ Disputed

            Date or dates debt was incurred                            Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                           No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                       ❑ Yes


  2.68      Priority creditors name and mailing address               As of the petition filing date, the claim is:                         Unknown     $0.00
            Teresa Heskett                                            Check all that apply.
            354250 E 5700 Rd.                                         ❑ Contingent
            Yale, OK 74085                                            ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       II No
            unsecured claim: 11 U.S.C. § 507(a)(1)
                                                                      ❑ Yes


  2.69      Priority creditors name and mailing address               As of the petition filing date, the claim is:                         Unknown     $0.00
            Terra Smith                                               Check all that apply.
            45959 S. 352 Rd.                                          ❑ Contingent
            Pawnee, OK 74058                                          ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       •No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes


 2 70       Priority creditors name and mailing address               As of the petition filing date, the claim is:                         Unknown     $0.00
            Terri Cartwright                                          Check all that apply.
            313 N 5th                                                 ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                      ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                                 Case number (if known)   19-01697
                Name
   2.71      Priority creditors name and mailing address              As of the petition filing date, the claim is:                          Unknown      $0.00
             Terrie Coble                                             Check all that apply.
             1366 State Hwy 18                                         ❑ Contingent
             Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑   Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      .
                                                                     I No
            unsecured claim: 11 U.S.C. § 507(a)(A)
                                                                      ❑ Yes

  2 72      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown      $0.00
            Thomas Engle                                              Check all that apply.
            201 S 7th St.                                             ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                      Current Payroll
            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C.§ 507(a)(4)
                                                                      ❑ Yes

  2.73      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          Unknown     $0.00
            Tobie Wright                                              Check all that apply.
            2128 Fairfax Lake Rd.                                     ❑ Contingent
            Fairfax, OK 74637                                         ❑ Unliquidated
                                                                      ❑ Disputed

            Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ▪ No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes

 2.74       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          Unknown      $0.00
           Tonya Criner                                              Check all that apply.
           200 N !riving                                             ❑ Contingent
           Ponca City, OK 74601                                      ❑ Unliquidated
                                                                     ❑ Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                                Case number (if known)   19-01697
                Name
  2.75       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown           $0.00
            Tracy Soutter                                             Check all that apply.
            3750 S Main                                               0 Contingent
            Blackwell, OK 74631                                       ❑ Unliquidated
                                                                      0 Disputed

             Date or dates debt was incurred                          Basis for the claim:
                                                                      Current Payroll
             Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       III No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     0 Yes


  2.76      Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
            US Attorney's Office                                      Check all that apply.
            Attn: Civil Process Clerk                                0 Contingent
            310 New Bern Avenue - Suite 800                           ❑ Unliquidated
            Raleigh, NC 27601                                        0 Disputed

            Date or dates debt was incurred                           Basis for the claim:


            Last 4 digits of account number                           Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      •No
            unsecured claim: 11 U.S.C. § 507(a) g
                                                                     0 Yes


  2.77      Priority creditors name and mailing address              As of the petition filing date, the claim is:                          Unknown          $0.00
            Victoria Salamysullins                                   Check all that apply.
            9713 Greystone Ave.                                      0 Contingent
            Oklahoma City, OK 73120                                  ❑ Unliquidated
                                                                     0 Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       •No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     0 Yes


 2.78       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         Unknown           $0.00
           Wendy Kinser                                              Check all that apply.
           2681 Creekview Road                                       0 Contingent
           Oologah, OK 74053                                         0 Unliquidated
                                                                     0 Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Current Payroll
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       El No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     0Yes




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  Debtor       CAH Acquisition Company 12, LLC                                                                Case number (if known)          19-01697
               Name
  2.79      Priority creditors name and mailing address              As of the petition filing date, the claim is:                                      Unknown     $0.00
            William Madison                                          Check all that apply.
            410 W Belair                                             ❑ Contingent
            Fairfax, OK 74637                                        ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                      ❑ No
            unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes


  2.80      Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                      Unknown     $0.00
            William Richards                                         Check all that apply.
            PO Box 344                                               ❑ Contingent
            Carney, OK 74832                                         ❑ Unliquidated
                                                                     ❑ Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Current Payroll
            Last 4 digits of account number                          Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       ▪ No
           unsecured claim: 11 U.S.C. § 507(a)(4)
                                                                     ❑ Yes



 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                    Amount of claim

 3.1
         J Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply                     $765.29
           A+ Printing                                                             ❑ Contingent
           119 N. 3rd Street                                                       ❑ Unliquidated
           Ponca City, OK 74601                                                    ❑ Disputed
           Date(s) debt was incurred _
                                                                                   Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                                   Is the claim subject to offset?     No ❑ Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply                  $3,213.60
          AAAASF Office                                                            ❑ Contingent
          PO Box 9500                                                              ❑ Unliquidated
          Gurnee, IL 60031                                                         ❑ Disputed
           Date(s) debt was incurred _
                                                                                  Basis for the claim:     Open account
           Last 4 digits of account number _
                                                                                   Is the claim subject to offset?     No ❑ Yes

 3.3       Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.                     $553.09
          ABBVIE                                                                   ❑ Contingent
          ATTN: Dept V345                                                          ❑ Unliquidated
          North Chicago, IL 60064                                                  ❑ Disputed
          Date(s) debt was incurred _
                                                                                  Basis for the claim:     Open account
          Last 4 digits of account number _
                                                                                  Is the claim subject to offset? El No ❑ Yes




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                Name

   3.4       Nonpriority creditors name and mailing address                    As of the petition filing date, the claim is: Check all that apply              $2,100.00
             Accurad Medical Imaging Services                                  ❑ Contingent
             10830 E. Newton Place                                             ❑ Unliquidated
             Tulsa, OK 74116                                                   ❑ Disputed
             Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
             Last 4 digits of account number _
                                                                               Is the claim subject to offset?      No   ❑ Yes


  3.5        Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $180.00
            Accuratenow                                                        ❑ Contingent
            1930 North Poplar Street, Suite 20                                 ❑ Unliquidated
            Southern Pines, NC 28387                                           ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? El No     ❑ Yes


  3.6        Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply                 $720.00
            Advance Boiler Repr & SVC                                          ❑ Contingent
            36168 West Highway 51                                             ❑ Unliquidated
            Mannford, OK 74044                                                ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
            Last 4 digits of account number_
                                                                              Is the claim subject to offset? U No       ❑ Yes


  3.7    7Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply                 $180.00
            Air Evac EMS                                                      ❑ Contingent
            1001 Boardwalk Springs Pl., Ste 250                               ❑ Unliquidated
            0 Fallon, MO 63368                                                ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No    ❑ Yes


  3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $42.60
            Airgas USA, LLC                                                   ❑ Contingent
            1301 W. South Ave.                                                ❑ Unliquidated
            Ponca City, OK 74601                                              ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No       ❑ Yes


            Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply             $3,332.00
            Allred Recruiting Group                                           ❑ Contingent
            Po Box 7261                                                       ❑ Unliquidated
            Shawnee Mission, KS 66207                                         ❑ Disputed
            Date(s) debt was incurred _
                                                                             Basis for the claim:     Open account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No     ❑ Yes


 3.10       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply              $1,601.00
           American Osteopathoc Assoc.                                        ❑ Contingent
           142 E. Ontario Street                                              ❑ Unliquidated
           Chicago, IL 60611                                                  ❑ Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? U No        ❑ Yes




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   3.11      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.            $4,800.00
            Apria Healthcare, LLC                                               ❑ Contingent
            11414 East 51st Street, Suites D-F                                  ❑ Unliquidated
            Tulsa, OK 74146                                                     ❑ Disputed
            Date(s) debt was incurred
                                                                                Basis for the claim:    Open account
            Last 4 digits of account number
                                                                                Is the claim subject to offset?      No ❑ Yes

   3.12     Nonpriority creditors name and mailing address                      As of the petition filing date, the claim is: Check all that apply               $918.24
            Auto Chlor Services, LLC                                            ❑ Contingent
            1714 SE 66th Street                                                 ❑ Unliquidated
            Oklahoma City, OK 73149                                             ❑   Disputed
            Date(s) debt was incurred
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number
                                                                                Is the claim subject to offset?     No   ❑ Yes

  3.13      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                 $50.95
            BCBS New Mexico/PBPP                                               ❑ Contingent
            4411 The 25 Way                                                    ❑ Unliquidated
            Albuquerque, NM 87109                                              ❑ Disputed
            Date(s) debt was incurred
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number
                                                                               Is the claim subject to offset?      No   ❑ Yes

  3.14      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply             $7,926.93
           Beckman Coulter                                                     ❑ Contingent
           250 South Kraemer Blvd.                                             ❑ Unliquidated
           Brea, CA 92820                                                      ❑ Disputed
            Date(s) debt was incurred
                                                                               Basis for the claim:    Open account
            Last 4 digits of account num- ber
                                                                               Is the claim subject to offset?      No   ❑ Yes

  3.15      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $53.00
           Bio-Tek Services, Inc.                                              ❑ Contingent
           5310 Laburnum Ave.                                                  ❑ Unliquidated
           Henrico, VA 23231                                                   ❑ Disputed
           Date(s) debt was incurred
                                                                               Basis for the claim:    Open account
           Last 4 digits of account num- ber
                                                                               Is the claim subject to offset?     No    ❑ Yes

 3.16      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $100.92
           Briggs Corporation                                                  ❑ Contingent
           4900 Univeristy Ave. Suite 200                                      ❑ Unliquidated
           West Des Moines, IA 50266                                           ❑ Disputed
           Date(s) debt was incurred
                                                                               Basis for the claim:   Open account
           Last 4 digits of account num- ber
                                                                               Is the claim subject to offset?     No    ❑ Yes

 3.17      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          Byron Staples                                                       ❑ Contingent
          401 S. 7th Street                                                   ❑ Unliquidated
          Fairfax, OK 74637                                                   ❑ Disputed
           Date(s) debt was incurred
                                                                              Basis for the claim:    Open account
           Last 4 digits of account num- ber ___
                                                                              Is the claim subject to offset?      No    ❑ Yes




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[3.18       Nonpriority creditors name and mailing address                      As of the petition filing date, the claim is: Check all that apply.              $197.50
            Computer Products & Supplies Int.                                   ❑ Contingent
            975 Nimco Drive, Unit C                                             ❑ Unliquidated
            Crystal Lake, IL 60014                                              ❑ Disputed
            Date(s) debt was incurred _
                                                                                Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                                Is the claim subject to offset?     No   ❑ Yes


  3.19      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply            $4,785.01
            Comtrix Solutions                                                   ❑ Contingent
            22656 Philomont Ridge Court                                         ❑ Unliquidated
            Ashburn, VA 20148                                                   ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?      No   ❑ Yes


  3.20      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply               $862.50
            Dock & Lock Storage                                                ❑ Contingent
            70 Industry Drive                                                  ❑ Unliquidated
            West Haven, CT 06516                                               ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?      No   ❑ Yes


  3.21      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $120.00
           Drugs of Abuse Testing Lab                                          ❑ Contingent
           2626 S. Sheridan Road                                               ❑ Unliquidated
           Tulsa, OK 74129                                                     ❑ Disputed
           Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                               Is the claim subject to offset?      No   ❑ Yes


 3.22      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply            Unknown
           Empower HMS                                                         ❑ Contingent
           PO Box 901563                                                       ❑ Unliquidated
           Kansas City, MO 64190                                               ❑ Disputed
           Date(s) debt was incurred _
                                                                               Basis for the claim:    Open Account
           Last 4 digits of account number _
                                                                               Is the claim subject to offset?     No    ❑ Yes


 3.23      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $125.00
           EPIC                                                                ❑ Contingent
           95 3rd Street NE                                                    ❑ Unliquidated
           Waite Park, MN 56387                                                ❑ Disputed
           Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                               Is the claim subject to offset?     No    ❑ Yes


 3.24      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply              $480.00
          EPower Doc, Inc.                                                     ❑ Contingent
          PO Box 88218                                                         ❑ Unliquidated
          Atlanta, GA 30356                                                    ❑ Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No    ❑ Yes




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   3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply             $3,470.04
            Evoqua Water Technologies LLC                                      ❑ Contingent
            210 Sixth Avenue                                                   ❑ Unliquidated
            Pittsburgh, PA 15235                                               ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? U No       ❑ Yes


  3.26      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply            $2,246.20
            Fairfax Chief                                                      ❑ Contingent
            100 North 2nd Street                                               ❑ Unliquidated
            Fairfax, OK 74463-7000                                             ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?   U   No   ❑ Yes


  3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,081.18
           Family Discount Pharmacy                                            ❑ Contingent
           310 Fairview Ave                                                   ❑ Unliquidated
           Ponca City, OK 74601                                               ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?        No   ❑ Yes


  3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,185.63
           Fisher Scientific Company, LLC                                     ❑ Contingent
           300 Industry Drive                                                 ❑ Unliquidated
           Pittsburgh, PA 15275                                               ❑   Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No        ❑ Yes


 3.29      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,447.22
           Gas & Supply                                                       ❑ Contingent
           125 Thruway Park                                                   ❑ Unliquidated
           Broussard, LA 70518                                                ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? 1. No       ❑ Yes


 3.30      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply            $2,375.00
          GEHA                                                                ❑ Contingent
          Po Box 21542                                                        ❑ Unliquidated
          Eagan, MN 55121                                                     ❑ Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No        ❑ Yes


 3.31      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply               $473.23
          Grainger WW Inc.                                                    ❑ Contingent
          10707 E. Pine Street                                                ❑ Unliquidated
          Tulsa, OK 74115                                                     ❑ Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No        ❑ Yes




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   3.32     Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply              $5,911.35
            Heartland Pathology Consultant                                     O Contingent
            3509 French Park Drive, Suite D                                    ❑ Unliquidated
            Edmond, OK 73034                                                   0 Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?   MI No   0 Yes

  3.33      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,650.00
            HERC                                                               O Contingent
            1415 W. S. Ave                                                     ❑ Unliquidated
            Ponca City, OK 74601                                               O Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? III No 0 Yes

  3.34      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,538.00
            Hippa-Guard                                                        O Contingent
            1608 S. Ashland Ave #86038                                         ❑ Unliquidated
            Chicago, IL 60608                                                 0 Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?     No 0 Yes

  3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $2,925.00
           HMS Health, LLC                                                    0 Contingent
           13520 Potomac Riding Lane                                          ❑ Unliquidated
           Potomac, MD 20850                                                  0 Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No 0 Yes

  3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check      that apply             $1,091.00
           Horizon Scientific, Inc.                                           0 Contingent
           125 Varnfield Drive                                                ❑ Unliquidated
           Summerville, SC 29483                                              0 Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No 0 Yes

 3.37      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,228.19
           Hutchison Plumbing                                                0 Contingent
           1090 W, Cherokee Street                                            ❑ Unliquidated
           Jay, OK 74346                                                      O Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset? Ill No 0 Yes

 3.38      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $472,625.00
          IHEALTHCARE INC                                                     El Contingent
          3901 NW 28th St., 2nd Floor                                         ❑ Unliquidated
          Miami, FL 33142                                                    0 Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:   Open Account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No 0 Yes




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   3.39      Nonpriority creditors name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,449.22
             Indian Electric Coopr FMH                                          ❑ Contingent
             2506 E. Old Hwy 64                                                 ❑ Unliquidated
             Cleveland, OK 74020                                                ❑ Disputed
             Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
             Last 4 digits of account number _
                                                                               Is the claim subject to offset?      No    ❑ Yes


   3 40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $2,025.00
            KCI USA, Inc.                                                      ❑ Contingent
            12930 Interstate Hwy 10 West                                       ❑ Unliquidated
            San Antonio, TX 78249                                              ❑ Disputed
             Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
             Last 4 digits of account number_
                                                                               Is the claim subject to offset?      No    ❑ Yes


   3.41      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $306.15
            Kempton Company                                                    ❑ Contingent
            13431 Broadway Ext.                                                ❑ Unliquidated
            Oklahoma City, OK 73114                                            ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number_
                                                                               Is the claim subject to offset?     No    ❑ Yes


  3.42      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,266.96
           Lapcorp                                                             ❑ Contingent
           PO Box 12140                                                        ❑ Unliquidated
           Burlington, NC 27215                                                ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No       ❑ Yes


  3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $65.24
           Madison Medical                                                    ❑ Contingent
           788 N. Jefferson St., #300                                         ❑ Unliquidated
           Milwaukee, WI 53202                                                ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset?      No    ❑ Yes


  3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,103.91
           McKesson Corp                                                      ❑ Contingent
           9954 Mayland Drive, Suite 4000                                     ❑ Unliquidated
           Richmond, VA 23233                                                 ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No     ❑ Yes


 3.45      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply             $2,279.95
          Medassure                                                           ❑ Contingent
          920 E. County Line Road, Suite 103                                  ❑ Unliquidated
          Lakewood, NJ 08701                                                  ❑ Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:   Open account
          Last 4 digits of account number_
                                                                              Is the claim subject to offset?     No     ❑ Yes




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  3.46     I Nonpriority creditors name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,518.71
            Medline Indusstries, Inc.                                          ❑ Contingent
            8001 SW 47th Street                                                ❑ Unliquidated
            Wheatland, OK 73097                                                ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?•No         ❑ Yes

  3.47      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                $261.95
            Medusind, Inc.                                                     ❑ Contingent
            7725 W. Reno Ave.                                                  ❑ Unliquidated
            Oklahoma City, OK 73127                                            ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?•No         ❑ Yes

  3.48      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $14,481.86
            Miller EMS, LLC                                                   ❑ Contingent
            514 1st Street                                                    ❑ Unliquidated
            Medford, OK 73759                                                 ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset?        No   ❑ Yes

  3.49      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $4,957.44
           Modular Space Corporation                                          ❑   Contingent
           120 Swedesford Road                                                ❑ Unliquidated
           Berwyn, PA 19312                                                   ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset?   MI   No   ❑ Yes

 3.50      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,067.66
           Mortara Instrument Inc.                                            ❑ Contingent
           7865 N 86 Street                                                   ❑ Unliquidated
           Milwaukee, WI 53224                                                ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?•No          ❑ Yes

 3.51      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,117.00
          NOA Medical Supply                                                  ❑ Contingent
          801 Terry Lane                                                      ❑ Unliquidated
          Washington, MO 63090                                                ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
           Last 4 digits of account number
                                                                              Is the claim subject to offset? U No        ❑ Yes

 3.52      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $827.40
          N ursing Homes, LTD. Oklahoma                                       ❑ Contingent
          SW of City                                                          ❑ Unliquidated
          Nowata, OK 74048                                                    ❑ Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:   Open account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset?•No          ❑ Yes




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   3.53      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply             $1,452.45
            Office Depot                                                       ❑ Contingent
            820 SW 74th Street                                                 ❑ Unliquidated
            Oklahoma City, OK 73139                                            ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? El No     ❑ Yes


   3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $178.75
            Oklahoma Advantage Storehouse, LLC                                 ❑ Contingent
            403 N. Main Street                                                 ❑ Unliquidated
            Fairfax, OK 74637                                                  ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? U No      ❑ Yes


  3.55      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply            $2,961.10
           Oklahoma Blood Institute                                            ❑ Contingent
           4601 E 81st Street                                                  ❑ Unliquidated
           Tulsa, OK 74137                                                     ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? U No     ❑ Yes


  3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $224.99
           Pacific Medical, LLC                                               ❑ Contingent
           32981 Calle Perfecto                                               ❑ Unliquidated
           San Juan Capistrano, CA 92675                                      ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No   ❑ Yes


  3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,464.62
           Passport Health Communications, Inc                                ❑ Contingent
           3330 Northwest 56th Street #106                                    ❑ Unliquidated
           Oklahoma City, OK 73112                                            ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No      ❑ Yes


 3.58      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply           $18,035.90
           Patriot Placement Staffing                                         ❑ Contingent
           2105 Briarwood Drive                                               ❑ Unliquidated
           Amarillo, TX 79124                                                 ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No    ❑ Yes


 3.59      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                $82.60
          Pawnee Chief                                                        ❑ Contingent
          588 Illinois Street                                                 ❑ Unliquidated
          Pawnee, OK 74058                                                    ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? U No       ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                         Case number (if known)            19-01697
                Name

   3.60      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $742.50
            Piccpros, LLC                                                      ❑ Contingent
            7146 S. Braden Ave., Suite 104                                     ❑ Unliquidated
            Tulsa, OK 74136                                                    ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? •No       ❑ Yes


   3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,010.50
            PLICO                                                              ❑ Contingent
            PO Box 1838                                                        ❑ Unliquidated
            Oklahoma City, OK 73101                                            ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset? El No      ❑ Yes


  3.62      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $80.76
            Ponca City News                                                   ❑ Contingent
            300 North Third                                                   ❑ Unliquidated
            Ponca City, OK 74601                                              ❑ Disputed
            Date(s) debt was incurred
                                                                              Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No   ❑ Yes


  3.63      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $9,188.50
            PRN Funding LLC                                                   ❑ Contingent
            25101 Chagrin Blvd #250                                           ❑ Unliquidated
            Beachwood, OH 44122                                               ❑ Disputed
            Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No   ❑ Yes


  3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $124,881.76
           Quality Systems, Inc.                                              ❑ Contingent
           PO Bolx 511449                                                     ❑ Unliquidated
           Los Angeles, CA 90051                                              ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open Account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset?     No    ❑ Yes


 3.65     J Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply           $57,744.00
           Reboot, Inc.                                                       ❑ Contingent
           PO Box 775535                                                      ❑ Unliquidated
           Chicago, IL 60677                                                  ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:   Open Account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No      ❑ Yes


 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply                $270.00
           Respiratory Maintenance, Inc.                                      ❑ Contingent
           12312 Birch Street                                                 ❑ Unliquidated
           Leawood, KS 66209                                                  ❑ Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? U No       ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                          Case number (if known)           19-01697
                Name
   3.67      Nonpriority creditors name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $338,178.30
            Rural Community Hospitals of Americ                                El Contingent
            Attn: Steven F. White                                              0 Unliquidated
            700 Chappell Road                                                  O Disputed
            Charleston, WV 25304
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open Account
            Last 4 digits of account number_                                   Is the claim subject to offset?      No   0 Yes

   3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,450.00
            Shared Medical Services, Inc.                                     0 Contingent
            PO Box 330                                                         ❑ Unliquidated
            Cottage Grove, WI 53527                                            0 Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open Account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?     No    0 Yes
  3.69      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $7,539.25
            Shi Headquarters                                                  0 Contingent
            300 Davidson Ave                                                  0 Unliquidated
            Somerset, NJ 08873                                                0 Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset?     No    0 Yes
  3.70      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                $79.00
           Shred It OK City                                                   0 Contingent
           2616 Vermont Avenue                                                0 Unliquidated
           Oklahoma City, OK 73108                                            0 Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?      No    0 Yes
  3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply           $10,075.02
           Sizewize                                                           0 Contingent
           PO Box 320                                                         0 Unliquidated
           Ellis, KS 67637                                                    0 Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset?     No     0 Yes
 3.72      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply             $9,181.98
           Standley Systems                                                  0 Contingent
           PO Box 460                                                         ❑ Unliquidated
           Chickasha, OK 73023                                               0 Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No     0 Yes
 3.73      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply            $7,410.00
          State of OK - OSU Cntr for Hlth Sci                                0 Contingent
          1111 W. 17th Street                                                0 Unliquidated
          Tulsa, OK 74107                                                    0 Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No    0 Yes




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   Debtor        CAH Acquisition Company 12, LLC                                                         Case number Or known)             19-01697
                 Name

   3 74      Nonpriority creditors name and mailing address                    As of the petition filing date,the claim is: Check ail that apply.                 $357.93
            Stericycl                                                           ❑ Contingent
            PO Box 6575                                                         ❑ Unliquidated
            Carol Stream, IL 60197                                              ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number_
                                                                               Is the claim subject to offset? U No       ❑ Yes


   3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,307.89
            Sysco Food Services                                                ❑ Contingent
            PO Box 1127                                                        ❑ Unliquidated
            Norman, OK 73070                                                   ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number_
                                                                               Is the claim subject to offset? U No      ❑ Yes


   3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply              $1,000.00
            The NatL Alliance of Rural Hospital                                ❑ Contingent
            120 North Monroe St.                                               ❑ Unliquidated
            Tallahassee, FL 32308                                              ❑ Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? U No      ❑ Yes


  3.77      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $295.72
           Town of Fairfax                                                     ❑ Contingent
           PO Box 399                                                          ❑ Unliquidated
           Fairfax, OK 74637                                                   ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset?      No   ❑ Yes


  3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $494.98
           Trainim Health Services                                            ❑ Contingent
           25197 Network Place                                                ❑ Unliquidated
           Chicago, IL 60673                                                  ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No      ❑ Yes


  3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,718.76
           Tri-Tec Medical Inc.                                               ❑ Contingent
           2255 Germantown Road South                                         ❑ Unliquidated
           Germantown, TN 38138                                               ❑ Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset?     No    ❑ Yes


 3.80      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply            $18,219.00
          Trucode LLC                                                         ❑ Contingent
          PO Box 5847                                                         ❑ Unliquidated
          Alpharetta, GA 30023                                                ❑ Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:   Open Account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No      ❑ Yes




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   Debtor       CAH Acquisition Company 12, LLC                                                          Case number (if known)           19-01697
                Name
   3.81      Nonpriority creditors name and mailing address                    As of the petition filing date, the claim is: Check all that apply              $3,952.40
            United Linen & Uniform                                             O Contingent
            PO Box 4586                                                        O Unliquidated
            Bartlesville, OK 74005                                             0 Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:    Open account
            Last 4 digits of account number _
                                                                               Is the claim subject to offset? U No 0 Yes


   3.82     Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $750.99
            US Specialty Labs                                                 0 Contingent
            11578 Sorrento Valley Road                                        0 Unliquidated
            San Diego, CA 92121                                               0 Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number_
                                                                               Is the claim subject to offset? U No 0 Yes


  3.83      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply                $157.29
            Verison Wireless Services, LLC                                    0 Contingent
            PO Box 660108                                                     0 Unliquidated
            Dallas, TX 75266                                                  0 Disputed
            Date(s) debt was incurred _
                                                                               Basis for the claim:   Open account
            Last 4 digits of account number_
                                                                               Is the claim subject to offset? U No 0 Yes


  3.84      Nonpriority creditors name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $142.00
           Vonco Medical Products, Inc.                                       O Contingent
           1625 W. Crosby Rd., Suite 120                                      0 Unliquidated
           Carrollton, TX 75006                                               O Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number_
                                                                              Is the claim subject to offset? U No 0Yes


  3.85     Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $229.94
           Vyne Education, LLC                                                0 Contingent
           9020 Overlook Blvd, Suite 140                                      0 Unliquidated
           Brentwood, TN 37027                                                0 Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? •No 0 Yes


 3.86      Nonpriority creditors name and mailing address                     As of the petition filing date, the claim is: Check all that apply              $2,702.69
           Wallach Surgical Devices                                           0 Contingent
           95 Corporate Drive                                                 ❑ Unliquidated
           Trumbull, CT 06611                                                 O Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
           Last 4 digits of account number _
                                                                              Is the claim subject to offset? I. No 0 Yes


 3.87      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply                     $37.50
          Works & Lentz of Tulsa, Inc.                                        0 Contingent
          1437 Boulder, Suite 900                                             ❑ Unliquidated
          Tulsa, OK 74149                                                     O Disputed
           Date(s) debt was incurred _
                                                                              Basis for the claim:    Open account
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? U No 0 Yes




12121MList Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

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    Debtor       CAH Acquisition Company 12, LLC                                                   Case number (if known)         19-01697
                 Name

             Name and mailing address                                                              On which line in Part1 or Part 2 is the    Last 4 digits of
                                                                                                   related creditor (if any) listed?          account number, if
                                                                                                                                              any

   Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims.

                                                                                                                   Total of claim amounts
   5a. Total claims from Part 1                                                                      5a.                               1,715.80
   5b. Total claims from Part 2                                                                      5b.   +   $                   1,304,682.19
   5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                          5c.       $                     1,306,397.99




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   Fill in this information to identify the case:

   Debtor name         CAH Acquisition Company 12, LLC

   U nited States Bankruptcy Court for the:           EASTERN DISTRICT OF NORTH CAROLINA

  Case number (if known) 19-01697
                                                                                                                             ❑ Check if this is an
                                                                                                                               amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

 1.     Does the debtor have any executory contracts or unexpired leases?
      ■ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ❑ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

  2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

  2.1        State what the contract or
             lease is for and the nature
             of the debtor's interest

               State the term remaining

              List the contract number of
               any government contract


  2.2       State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

             List the contract number of
              any government contract


  2.3       State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

             List the contract number of
              any government contract


 2.4        State what the contract or
            lease is for and the nature
            of the debtor's interest

              State the term remaining

             List the contract number of
              any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 1
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   Fill in this information to identify the case:

   Debtor name         CAH Acquisition Company 12, LLC

   United States Bankruptcy Court for the:              EASTERN DISTRICT OF NORTH CAROLINA

   Case number (if known) 19-01697
                                                                                                                             ❑ Check if this is an
                                                                                                                               amended filing

 Official Form 206H
 Schedule H: Your Codebtors                                                                                                                       12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.

        1. Do you have any codebtors?

   ■ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   ❑ Yes

    2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
       on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                         Column 2: Creditor



               Name                              Mailing Address                                  Name                           Check all schedules
                                                                                                                                 that apply:
     2.1                                                                                                                         ❑D
                                                 Street                                                                          ❑ E/F
                                                                                                                                 ❑G

                                                 City                State       Zip Code


     2.2                                                                                                                         OD
                                                 Street                                                                          ❑ E/F
                                                                                                                                 ❑G

                                                City                 State       Zip Code


     2.3                                                                                                                        ❑ D
                                                Street                                                                          ❑ E/F
                                                                                                                                0G

                                                City                 State       Zip Code


    2.4                                                                                                                         OD
                                                Street                                                                          ❑ E/F
                                                                                                                                ❑G

                                                City                 State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                        Page 1 of 1
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                                                                           60
   Fill in this information to identify the case:

   Debtor name         CAH Acquisition Company 12, LLC

   United States Bankruptcy Court for the:             EASTERN DISTRICT OF NORTH CAROLINA

   Case number (if known) 19-01697
                                                                                                                            ❑ Check if this is an
                                                                                                                              amended filing

 Official Form 206H
 Schedule H: Your Codebtors                                                                                                                      12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.

        1. Do you have any codebtors?

  ■ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  ❑ Yes

    2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
       on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
             Column 1: Codebtor                                                                        Column 2: Creditor



               Name                              Mailing Address                                 Name                           Check all schedules
                                                                                                                                that apply:
     2.1                                                                                                                        ❑D
                                                Street                                                                          ❑ E/F
                                                                                                                                OG

                                                City                 State       Zip Code


     2.2                                                                                                                        OD
                                                Street                                                                          ❑ E/F
                                                                                                                                OG

                                                City                 State       Zip Code


    2.3                                                                                                                        ❑D
                                                Street                                                                         ❑ E/F
                                                                                                                               0G

                                                City                 State       Zip Code


    2.4                                                                                                                        ❑D
                                                Street                                                                         ❑ E/F
                                                                                                                               0G

                                                City                 State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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